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Society is comprised of a dramatically increasing
population of children and adults diagnosed with
autism spectrum disorder (ASD), referred to as autism
throughout this document. Research indicates that
people with autism will have a higher rate of contact
with law enforcement agencies.' These contacts are
managed best through agency and officer investments
of patience and time, the use of special communica-
tion and de-escalation techniques, and enhanced in-
formation gathering by emergency call centers. Com-
munications, behaviors, intent, and ability levels of
people with autism vary greatly and will present chal-
lenges for even the most experienced law enforcement
professional. This Training Key is designed to en-
hance officer safety, avoid litigation and provide a
comprehensive, practical understanding of effective
approaches when interacting with individuals affected
by autism.

What Is Autism?

Autism is North America’s fastest growing devel-
opmental disability, recently estimated by the Centers
for Disease Control and Prevention to affect as many
as 1 in every 88 children.’ It is thought that autism oc-
curs more frequently in males than females, although
there is some debate over this issue.

Autism is defined as a neurodevelopmental disabil-
ity, meaning that it involves the brain and starts very
early in life when the brain is still forming and
changeable. Autism involves differences and difficul-
ties in several areas including social interaction; com-
munication; the presence of narrow, repetitive behav-

iors; and difficulty adjusting to change. Additionally,

there is a wide range in intellectual ability for individ-
uals with autism.

Recognition: Correctly Identifying an Autism-
Related Contact

Autism is often a hidden disability. While parents
and autism professionals have learned through experi-
ence and education how to recognize the common
traits of autism, a responding officer is not expected to
be able to diagnose autism in the field. The behaviors
of an individual with autism, particularly when under
stress, may look very similar to the actions of some-
one under the influence of phencyclidine (PCP),
methamphetamine, alcohol, or someone affected by a
mental illness.

Less Independent Individuals. The term “less in-
dependent” may be used to describe autistic persons
with lower IQs. These persons have more difficulty
than other individuals with autism in areas involving
basic life skills, such as safely crossing a street, nego-
tiating a financial transaction, and making sense of so-
cial interactions. Oftentimes, these individuals are
also nonverbal, and may use alternative forms of com-
munication such as sign language, Picture Exchange
Communications Systems (PECS), or computers that
can speak for them. If verbal, their communications
may be understood only by a family member, care-
giver, or teacher. More often than not, they will have a
caregiver accompanying them and will be dependent
on parents, siblings, or others to provide the basic ne-
cessities of life.

More Independent Individuals. “More indepen-
dent” autistic individuals may be able to fully express
needs, use public transportation, learn to drive, attend
college or university, be employed with surprisingly
powerful and professional careers, marry, and have
children. However, they are challenged by the same
issues as their less independent peers, albeit to a lesser
but still significant degree. Their strengths can mask
social and communication deficits that go unseen or
misunderstood by those with whom they have con-
tact.

Common Traits for Individuals with Autism’

Individuals with autism may have the following
traits:

e Be nonverbal or have limited speech and diffi-
culty in expressing needs

e If verbal, may use echolalia — the verbatim repe-
tition of the words and phrases of others

e Have trouble with correct speech volume and ca-
dence (too loud or quiet, monotone, computer-
like vocal intonation)

e Avoid eye contact, cover their eyes or stare

e Cover their ears

e Flee from an officer or violate the officer’s per-
sonal space

e Lack fear of real danger

e Beunable to accurately report pain levels

e Have over or under sensitivity to sensory input
that can result in very odd and suspicious behav-
iors

e Avoid or be highly sensitive to touch

e Have sustained unusual repetitive actions known
as stimming, which may include rocking back
and forth, arm flapping, wrist flicking, etc.

e Display clumsiness, toe-walking or awkward
gaits

e Laugh or giggle at inappropriate times

e Display fascination with water

e Be attracted to reflections and shiny objects,
e.g., officer’s badge, keys, belt buckle, or
weapon

¢ Talk to themselves or no one in particular

e Be unkempt or dressed in clothes inappropriate
for the season

Typical Requests for Officer Assistance

Common Citizen Calls for Assistance and Field
Contacts Involving Individuals with Less Indepen-
dent Autism. The autism community and law enforce-
ment agencies are only now beginning to learn one
another’s language. Poor communication and bad ex-
periences between law enforcement agencies and
calls for assistance involving people with autism have
resulted in less-than-ideal outcomes. To follow are
two types of situations that may result in requests for
service or field contacts:

e Parent or caregiver actions may be misinter-

preted or appear as assault. For example, a father
picking up and carrying away his crying child

from a store or park may appear to observers as a
possible child abduction.

e Less independent individuals often wander.
After a wandering incident has occurred, there
may be 9-1-1 reports about a child or adult dis-
playing unusual behavior in a neighborhood
where they are not known. Individuals may re-
port an individual sitting on a lawn chair or
swing; climbing trees; looking into windows of
homes; running into traffic; splashing in bodies
of water; teetering on the top of walls, fences, or
bridges; or wandering into construction sites and
drainage lines. Inappropriate social skills may
also be reported, such as unwarranted laughing
or crying, walking on one’s toes while staring
into space, turning lights on and off repetitively,
and becoming mesmerized by the motion of
children playing games like swinging or jump-
ing on a trampoline — precisely the sorts of be-
haviors that may frighten observant citizens and
result in a request for police assistance.

Possible Shoplifting and Calls to Retail Locations.
Persons with autism may have an obsession to make
order of objects. On store shelves, items that are
stacked backwards, upside down, or turned around
may appear out of order, and attempts to rearrange
these items may be seen as shoplifting. Their fascina-
tion with water may cause them to swim or splash in
mall fountains, repeatedly turn store restroom faucets
on and off, or flush toilets continuously. They may
also misinterpret store signs that state offers with the
words, “free sample” or “free gift” taking an item
without realizing a purchase had to be made first.

Reports of Escalated and Aggressive Behavior.
Terms such as “meltdown” or “tantrum” are common
parent and caregiver descriptors used when calling for
assistance from law enforcement. It is important to
know people with autism rarely premeditate a notion
of injuring others, yet they can be prone to physical
outbreaks and violence that can cause injury to and re-
sult in the potential for civil litigation.

Upset autistic persons may not know the implica-
tions of their behavior or understand the conse-
quences of their actions, especially those that are ag-
gressive. They may not understand their own strength
or ability to do harm. After officers arrive on scene,
the person with autism may react by dropping to the
floor or ground, rocking back and forth, fleeing, or
lashing out. Care must be taken that no one is hurt
during the investigation, but knowing how to respond
to the autistic person is the best way to avoid an esca-
lated scenario.

Officers should not interpret the autistic individ-
ual’s failure to respond appropriately to orders or
questions as a lack of cooperation. The person may be
slow or unable to comply with these requests. For the
person with autism, processing a request, command,
or question and providing an answer or response, even
under the best of circumstances, may take 15 to 20
seconds or more. Additionally, the person who ex-
presses an increase in aggressive behavior (e.g.,
screaming, pushing, kicking, hitting, head-banging,
hair-pulling, and so forth) is likely acting in this man-
ner as a result of uncontrolled fear, frustration, or con-
fusion. These aggressive behaviors may be a form of
self-stimulation or a sensory reaction to objects and
influences in the environment and not truly a sign of
calculated disobedience. The person with autism
wants the circumstances to change but does not know
how to implement that change. This presents an obvi-
ous dilemma for responding officers.‘

These outbursts frequently occur at home, in a large
social setting, a group home, or at school. The close
proximity to others in the rooms of most homes and
schools adds to the danger of the situation. While
there may be situations that require quick action, such
as a person with a firearm or knife, in traffic, on a
bridge or near other dangerous places, officers should
be prepared to slow down, invest time, keep commu-
nications simple, and manage the sensory environ-
ment to enhance de-escalation without use of force.
When the determination is made that the person is un-
armed, the officer should contain the person so he or
she cannot escape from the location and threaten oth-
ers. If the individual is not acting in an aggressive
manner, the officer should allow him or her extra time
to de-escalate without intervention.

Officer Safety Information and Autism

If an officer suspects or believes during the field in-
teraction that a person may have autism, the officer
should ask the individual directly if he or she is autis-
tic. A more independent person will be able to make
this disclosure, while someone who is less indepen-
dent may not. The officer should ascertain whether the
person is wearing an autism tag or bracelet or carrying
an autism information card. Some of this information
may be found on tags put in shoes, sewn into gar-
ments, imprinted on undergarments, or on a non-per-
manent ID tattoo. A quick survey of the area might
present multi-colored autism puzzle ribbons, aware-
ness decals, or stickers on a vehicle or dwelling.
Along with the puzzle ribbon, officers might find ver-
biage like “Nonverbal, may not understand com-
mands, may flee” or “I Love Someone with Autism”
on decals, stickers or license plates. Once this infor-
mation is gathered, the officer should determine if a 9-
1-1 call has been made looking for a person with
autism fitting the description of the field contact.

The following guidelines are invaluable during in-
teractions with a person who has autism:

e The person with autism is unlikely to accurately
understand the officer’s vocal tone; body lan-
guage such as eye rolling, eyebrow creases,
shrugs and hand signals; or jargon or compli-
cated multi-tasked instructions. Whenever possi-
ble, seek information and assistance from sup-
port people at the scene about how to
communicate with the person and de-escalate
his or her behavior.

e If the individual is holding and appears to be fas-
cinated with an inanimate object, it may be best
to allow him or her to hold the item for the calm-
ing effect, if officer safety is not jeopardized by
doing so.

e Avoid stopping repetitive behavior, unless there
is risk of injury to the person or others.

¢ Be prepared for some persons with autism to en-
gage in self-injurious behavior (SIB). An exam-
ple of SIB is a person striking themselves repeat-
edly in the upper chest, neck, and face, even after
redness and bruising appear. Cutting, scratching,
and pulling hair from their scalp, eyebrows, or
eyelashes are also upsetting expressions of SIB
that may be difficult to watch. However, inter-
vention should initially be limited to cases where
there are serious injuries, such as compound
fractures or excessive bleeding.

e Always remain alert to the possibility of sudden
aggressive outbursts that may require officer in-
tervention.

¢ Use short, direct, simple phrases that leave little
room for misinterpretation such as “Stand up
now” or “Get in the police car”.

e Avoid figurative expressions, idioms, or collo-
quialisms such as, “Cat got your tongue?” or
“Are you pulling my leg?” as the person with
autism is more than likely a very literal thinker.

e Allow for delayed responses to questions or
commands.

e Talk calmly and softly. Repeat or rephrase re-
sponses or questions.

¢ Use slow and low gestures for attention; avoid
rapid pointing or waving.

e Demonstrate calming body language and behav-
ior.

e Observe the body language of the person with
autism. Is he or she covering his or her ears or
eyes, displaying a fearful reaction to equipment
or other sights, sounds, or odors on scene? The
person’s body language may provide the clue or
a cue that he or she is stressed out, thus remind-
ing officers to provide the extra space and time
he or she needs to calm down.

Since autism is a neurodevelopmental disability, it
affects the central nervous system and a person’s sen-
sory responses to light, sound, touch, odor, and taste.
Hypersensitive persons take in too much sensory in-
formation, resulting in their flight from the source.
The hyposensitive person takes in too little, causing
sudden movements toward the source. These over and
under reactions will also inhibit the person’s ability to
communicate. Officers should realize that persons
with hyposensitivity often feel a compulsive desire to
be closer to the sensory source in their path. They may
be attracted to shiny objects, move into the personal
space of others and suddenly reach for the officer’s
badge, radio, keys, belt buckle, or weapon. They may
move in closer to smell odors on the officer’s body
such as deodorant, perfume, aftershave, cigarette, or
cigar smoke. In extreme cases, they may attempt to
lick or hug a responder. If the person is hypersensitive,
all of these stimuli, and especially the additional stim-
uli of canine partners, flashing lights, sirens, or
mounted patrol may cause flight.

Therefore, it is essential the officer assesses the
scene for sensory influences. What does the officer
see? Hear? Smell? What manageable influences does
the officer bring to the scene? If it is safe to do so, offi-
cers should minimize or eliminate the sensory influ-
ences of sirens, lights, two-way radios, or other equip-
ment that may add to the stress of the autistic
individual. If the sensory climate cannot be changed,
the officer should attempt to move the person away
from the sensory confusion, through the use of a
calming voice, reassuring words, and gentle body lan-
guage.

Restraint. Despite an officer’s best efforts, the per-
son with autism may need to be restrained and taken
into custody. When this becomes necessary, officers
should do the following:

e Try to avoid standing too near or behind the per-

son, as he or she may suddenly lurch backward.
A safer alternative is an approach by people on
both sides holding the upper arm and wrist areas.

e Be aware that people with autism may have un-
derdeveloped trunk muscles and may not be able
to support their airway. After takedown, the indi-
vidual should be turned on his or her side and be
transferred into an upright position as soon as
possible to allow normal breathing to occur.

e Monitor the person’s condition frequently to
prevent further trauma or injury. Up to 40 per-
cent of this population may have some form of
seizure disorder.

e Realize the person may not understand the futil-
ity of resistance and continue an intense strug-
gle. When the person is contained after restraint,
continue the use of calming and non-threatening
words and body language, de-escalation tech-
niques, sensory scene management, and simple
words.

Custody and Arrest. Once the person with autism
is under arrest or in custody for any reason, he or she
may need to be transferred to a jail or secured juvenile
or mental health facility. In these situations, officers
should do the following:

Document autism in their initial report and fully
brief the chain of command.

e Consider a medical evaluation.

e Evaluate for injury—the person may be unable
to ask for help or not show any indications of
pain.

e Alert jail authorities and suggest an initial isola-
tion facility. A person with autism may be at ex-
treme risk from and to the general prison popula-
tion.

e Whenever possible, contact parents or care-
givers for information regarding best care of,
and communication with, the person.

Safety Measures for the Autistic Individual Not
Necessarily Suspected of Wrongdoing

Lost and Wandering. Wandering is perhaps the
most frequent autism-related public safety contact.
Similar to patients with Alzheimer’s disease and de-
mentia, less independent persons with autism may
wander away from care and into danger. The majority
of lost and wandering calls involve children whose
parents have reported them as missing. They are often
described as escape artists adept at choosing when to
escape, and runners who are prone to escaping into
the community from homes and schools or while
shopping or traveling. They often escape at night
when caregivers are asleep. The escape can also occur
when parents and caregivers become injured or inca-
pacitated, ill, or otherwise occupied, perhaps when
using a restroom, taking a call, or caring for a sibling.

More independent persons also wander. They may
end up wandering simply because they become lost
while satisfying their curiosity about a jogging path or
neighborhood’s streets, or perhaps because they are so
engrossed in their current interest that it takes them
into an unfamiliar area.

The wandering problem is enhanced among indi-
viduals with autism because they do not realize that
they are in effect running away. They may never feel
lost, seek help, or feel discontent. Even if they do real-
ize they have wandered, they may not have the skills
to seek proper rescue and may fall victim to criminal
predators or dangerous terrain. They may also hide as
a form of self-protection. Keep in mind these individ-
uals can cover great distances or find danger in a short
period of time.

Parents and families may take extreme measures at
home to ensure safety, such as using higher fences, re-
placing glass with Lexan or Plexiglas, and installing
extra locks and alarms and motion and sound sensors.
Without knowledge to the contrary, extra locks and
the general appearance of the home could suggest
parental neglect or abuse. If unsure of the situation,
officers should keep an open mind and investigate
with a caseworker or professional who is familiar with
the family and the individual.

Search and Rescue. Drowning is a leading cause
of death for people with autism. An inability to swim
will not enter the mind of the autistic person attracted
to the water. Officers should thoroughly search all ac-
cessible water including fountains, pools, natural
water beds, and storm sewers. Autistic individuals
may also wander into traffic, nearby homes, or
dwellings and onto train tracks and elevated places
such as rooftops, trees, and power grid towers. Attrib-
uted to sensory overload, alarming reports exist about
children who strip off clothes and wander naked. Offi-
cers should search hiding places such as alleys and
dumps, where the autistic person may find refuge in-
side discarded furniture and appliances.

Autism Registries. In response to the severity and
frequency of field contacts, law enforcement, public
safety, and emergency call centers are now offering
voluntary registration for individuals affected by
autism. For families that participate, person-specific
information can be accessed quickly by way of mo-
bile computer or dispatch.

Examples of person-specific information often in-

clude, but are not limited to the following:

e Name of the individual

e Current photograph and physical description in-
cluding height, weight, eye and hair color, any
scars, or other identifying marks

e Names, home, cell and pager phone numbers
and addresses of all emergency contact persons

e Doctor contacts

e Any sensory, medical, or dietary issues and re-
quirements

° Inclination for wandering

e Favorite attractions and locations where person
may be found

e Atypical behaviors or characteristics that may
attract attention

e Favorite topics to pursue and calm the person;
topics to avoid that cause fear, anger, or out-
bursts

e Recommended approach and de-escalation tech-
niques

¢ Method of communication - verbal, sign lan-
guage, picture boards, written word

e ID jewelry, tags on clothes, printed handout
card, etc.

e Map and address guide to nearby properties with
water sources and dangerous locations high-
lighted

e Blueprint or drawing of home, with bedroom of
individual highlighted

Tracking Technology and Programs. Communi-
cations technology is now being used to track the
movements of those who wander through the use of
radio frequency (RF) transmitters worn by persons
with autism and receivers used during search and res-
cue. Although there are costs involved, when used in
combination with foot patrols, tracking animals, vehi-
cles, and aircraft, RF tracking technology can provide
quicker, more accurate and effective ground, air, and
waterborne responses.

Partnership Opportunities with the Autism
Community

Whenever possible, law enforcement agencies
should pursue proactive partnerships with the autism
community to discuss and allay any fears or miscon-
ceptions about police procedure and requests for as-
sistance.

For officer safety and to reduce liability, agencies
should create opportunities for officers to visit
schools, recreation facilities, and the homes of people
with autism. Families should be invited to bring their
children and adults to the stations and participate in
law enforcement events. Officers and persons with
autism can learn from each other during these con-
trolled, safe, and non-stressful interactions.

This can enhance officer education in the areas of
recognition and response to the vulnerable person and
enhance citizen education of the roles and responsibil-
ities of law enforcement professionals. Training,
opening the emergency call center and mobile com-
puters to autism information and community outreach
can pay off well in positive public relations and in-
creased officer and citizen safety.

Acknowledgment

Dennis Debbaudt, a professional investigator and
journalist, turned his attention to autism after receiv-
ing his son's diagnosis in 1987. He's since authored,
co-authored and produced over 30 articles, books and
training videos. He has presented direct training on
this subject matter throughout the U.S., as well as
Canada, United Kingdom, Iceland and New Zealand.

Endnotes

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> More independent individuals will show these traits to a lesser degree
and some may be able to mask these difficulties beyond identification.

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questions

The following questions are based on material in this Training Key®.

Select the one best answer for each question.

1. Which of the following is true regarding autism?

(a) It is a neurodevelopmental disability that starts very early in life
when the brain is still forming.

(b) It is believed to affect 1 in every 88 children.

(c) There is a wide range in intellectual ability among individuals with
autism.

(d) All of the above.

2. When interacting with a person who has autism, officers should do all
of the following, except

3.

(a) Use short, simple phrases that leave little room for misinterpreta-
tion.

(b) Attempt to stop any nonviolent repetitive behaviors.
(c) Remain alert to possible sudden aggressive outbursts.
(d) Demonstrate calin body language and behavior

Reports of shoplifting are the most common requests for officer assis-

tance involving autistic individuals.

(a) True.
(b) False.

answers

1. (d) All of the above.

2. (b) Repetitive behaviors should be allowed to continue, unless there
is risk of injury to the person or others.

3. (b) False. Wandering is the most frequent autism-related public
safety contact.

